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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Divisioo

UNITED STATES OF AMERICA Gm/(I‘JH);WS U b myme
515 ,;: _A;j; CFA;)HIS
-vs- Case No. 2: 05cr20283- 001D

DERRICO BOBBIT

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act ( 18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.

TYPE OF APPOINTMENT
- All purposes including trial and appeal

DONE and ORDERED in 167 Ncrth Main, Memphis, this 10"‘ day ofAugust, 2005.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Ofi'ice

Assistant Federal Public Det`ender
Intake

DERRICO BOBBIT

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20283 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

PDA

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U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

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Honorable Bernice Donald
US DISTRICT COURT

